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13
     Unsecured Creditors of Escada America, LLC
14
                           UNITED STATES BANKRUPTCY COURT
15               CENTRAL DISTRICT OF CALIFORNIA LOS ANGELES DIVISION

16   In re                                           )   Case No: 2:22-bk-10266-BB
                                                     )
17   ESCADA AMERICA, LLC,                            )   Chapter 11 Case
18                                                   )
             Debtor and Debtor-in- Possession.       )   OFFICIAL COMMITTEE OF UNSECURED
19                                                   )   CREDITORS’ OBJECTION TO DEBTOR’S
                                                     )   MOTION FOR ORDER: (I) AUTHORIZING
20                                                   )   USE OF CASH COLLATERAL PURSUANT
                                                     )   TO SECTION 363 OF THE BANKRUPTCY
21                                                   )   CODE; AND (II) APPROVING ADEQUATE
22                                                   )   PROTECTION; DECLARATIONS OF
                                                     )   PHILIP A. WEINTRAUB, ESQ. AND JOHN P.
23                                                   )   MADDEN
                                                     )   Hearing:
24                                                   )   Date: October 12, 2022
                                                     )   Time: 10:00 a.m.
25                                                   )   Place:1 Courtroom 1539
26                                                   )           255 East Temple Street
                                                     )           Los Angeles, CA 90012
27
     1
       Hearing in-person and by video-conference Government Zoom, see Court’s website under “Telephonic
28   Instructions for more details: https://www.cacb.uscourts.gov/judges/honorable-sheri-bluebond.
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1           The Official Committee of Unsecured Creditors (the “Committee”) of Escada America, LLC,

2    the above-captioned debtor and debtor-in-possession (the “Debtor”) objects to the Debtor’s Motion

3    for Order: (I) Authorizing Use of Cash Collateral Pursuant to Section 363 of the Bankruptcy Code;

4    and (II) Approving Adequate Protection (the “Motion”)2 and respectfully states:

5    I.     INTRODUCTION

6           1.      Since its formation, the Committee has pursued two (2) goals: (i) investigate the
7    Debtor's assets and liabilities, including litigation claims against the Debtor's insiders, so that (ii) it
8    can attempt to negotiate a consensual resolution of this case fairly, expeditiously and cost-
9    effectively. Although the Debtor shares the Committee's goal to exit bankruptcy quickly, it does not
10   share the desire to investigate or pursue estate litigation assets against insiders for value, despite the
11   existence of numerous colorable claims. Instead, the Debtor is working overtime to shield its
12   insiders from scrutiny. The Motion lays this bare.
13          2.      After months of professing a desire to work with the Committee to provide
14   information informally and to negotiate in good faith over a plan, the Debtor filed the Motion with
15   no notice to the Committee, after business hours on the last day the Motion could be filed on regular
16   notice, all while the parties were preparing to mediate plan issues pursuant the Exclusivity
17   Stipulation.3 For the first time, the Motion requests authority for the Debtor to use cash on a final
18   basis, on vastly different terms than the consensual Interim Cash Collateral Orders that have
19   governed the Debtor's use of cash for the past nine (9) months. This includes the past four (4)
20   months during which the Committee has worked to get the most basic information about the Debtor
21   required for the Committee to negotiate a reasonable outcome for this case.
22          3.      As the Committee’s efforts to obtain information have intensified, the Debtor and its
23   Insider Secured Creditors apparently now realize they will not be able to exit bankruptcy on the
24   cheap. Instead of pursuing a status quo consensual use of cash collateral while the parties continue
25   their ongoing negotiations, the Debtor and the Insider Secured Creditors entered into a Stipulation on
26

27   2
            Docket No. 312. Capitalized terms used but not defined in this objection have the meanings ascribed to them in
            the Motion.
28   3
            Capitalized terms used in the Introduction have the meanings ascribed to them further below.

                                                           2
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1    the eve of mediation, to further tilt this case in their favor. Among other things, and without any

2    evidence supporting how the Stipulation is in the best interest of the estate, the Debtor has now

3    stipulated to:

4                      the validity and perfection of the Insider Secured Creditors' liens, despite two of those
                        liens being granted for no apparent value during statutory lookback periods;
5
                       the amount of the Insider Secured Creditors' claims, including unspecified prepetition
6
                        amounts for which no proof of claim was filed by the bar date and undocumented
7                       administrative claims;

8                      conditions on the use of cash that will ensure no other party can investigate or pursue
                        any claims or challenges against the Insider Secured Creditors; and
9
                       make sizeable posptetition cash payments to the Insider Secured Creditors on account
10                      of suspect liens and objectionable claims, when the Insider Secured Creditors already
11                      will enjoy an equity cushion and other forms of adequate protection during the
                        proposed Budget period.
12
               4.       If the Debtor's agreements stand, the estate will be left hopelessly insolvent and the
13
     Insider Secured Creditors will obtain de facto third party releases for no value, just so the Debtor can
14
     use cash through October 12, when exclusivity will terminate automatically as to the Committee if a
15
     consensual deal is not reached by then. The Debtor and the Insider Secured Creditors were wrong if
16
     they thought the Stipulation would deter the Committee’s on-going investigation and efforts to
17
     maximize non-insider recoveries.
18
               5.       No faithful fiduciary would ever agree to the Stipulation. The Motion is bereft of
19
     evidence that the Stipulation is fair to the estate or will maximize value for non-insider creditors,
20
     because it will not. During its time in bankruptcy, the Debtor has shuttered all but one (1) store it
21
     operates unprofitably for an affiliate. The Motion is not an attempt to preserve a going concern.
22
     Rather, it is an improper and misguided attempt to freeze the Committee out of the Chapter 11
23
     process in favor of the Insider Secured Creditors who control the Debtor.           The Motion should be
24
     denied.
25

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                                                          3
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1    II.    FACTUAL BACKGROUND

2           A.      Procedural Background
3           6.      On January 18, 2022 (the “Petition Date”), the Debtor filed a voluntary petition under
4    subchapter V of chapter 11 (“Subchapter V”) of the Bankruptcy Code.
5           7.      Since the Petition Date, the Debtor has remained in possession of its assets pursuant
6    to section 1107 of the Bankruptcy Code. As discussed below, it is unclear who is operating the
7    Debtor’s business or managing its assets.
8           8.      On February 1, 2022 the Debtor filed its Schedules of Assets and Liabilities (the
9    “Schedules”) and Statement of Financial Affairs (the “SOFA”).4 Thereafter, the Debtor was forced
10   to amend its Schedules and/or SOFA three (3) times to correct information and omissions about the
11   Debtor’s prepetition transactions with insiders. Most recently and troubling, was an amendment on
12   July 21, 2022 – six (6) months into this case – to disclose for the first time, approximately $1.4
13   million in payments to Mega during the year preceding the Petition Date.5
14          9.      On February 8, 2022, the Office of the United States Trustee (the “UST”) conducted a
15   Section 341 Meeting of Creditors of the Debtor (the “341 Meeting”).6
16          10.     On March 16, 2022, Simon Property Group (“Simon”) and Brookfield Properties
17   (“Brookfield”), two of the Debtor’s largest non-insider creditors,7 challenged the Debtor’s eligibility
18   for relief under Subchapter V because the Debtor improperly characterized its landlords’ claims for
19   overdue rent as disputed and contingent.8 On March 23, 2022, 717 GFC LLC (“717 GFC”), the
20

21

22

23

24
     4
            Docket No. 75.
25   5
            Docket Nos. 79, 92 and 258. See Docket No. 258 at 19 (disclosing $1,399,298.39 in one-year payments to
            Mega), see also fn 60 infra.
26   6
            Docket Nos. 31. A copy of the transcript of the 341 Meeting (the “341 Transcript”) is attached as Exhibit A to
            the Declaration of Philip A. Weintraub, Esq. (the “Weintraub Decl.”), filed contemporaneously with this
27          objection. The UST continued the 341 Meeting on March 10 and 22, 2022. Docket Nos. 82 and 99.
     7
            Docket No. 1 at 7-9.
     8
28          Docket No. 103.

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1    Debtor’s then-largest non-insider creditor,9 joined Simon and Brookfield’s challenge.10 The UST

2    separately challenged the Debtor’s Subchapter V election on May 18, 2022.11

3           11.     In response to these challenges, the Debtor revoked its Subchapter V election on May

4    4, 2022.12

5           12.     On May 18, 2022, the UST formed the Committee. 13 The Committee originally

6    consisted of three (3) members: Simon, Brookfield and GFC 717.14 Upon the sale of its claim, GFC

7    717 resigned from the Committee.             As a result, the Committee currently consists of two (2)

8    members, Simon and Brookfield.15

9           13.     On May 23, 2022, the Committee selected Kelley Drye & Warren LLP as its

10   counsel. 16 On July 27, 2022, the Committee selected Emerald Capital Advisors as its financial

11   advisor.17

12          B.      The Debtor’s Business

13          14.     The Debtor conducts the U.S. brick and mortar operations of the Escada enterprise.18
14   The Escada enterprise consists of many entities,19 all of which ultimately are owned by Regent LP
15   (“Regent”), a private equity fund.20 Michael Reinstein is chairman, founder and chief executive
16   officer of Regent.21
17          15.     Before the Petition Date, the Debtor leased as many as fifteen (15) stores throughout
18   the country.22 As of the Petition Date, the Debtor operated ten (10) stores,23 including three (3)
19
     9
20          Docket No. 1 at 7. On August 4, 2022, 717 GFC transferred its general unsecured claim to TRC Master Fund
            LLC. Docket Nos. 262 and 263.
     10
            Docket No. 111.
21   11
            Docket No. 145.
     12
            Docket No. 149.
22   13
            Docket 172.
     14
            Id.
23   15
            Docket No. 292.
     16
            Docket No. 244.
24   17
            Docket No. 303.
     18
            Declaration of Kevin Walsh in support of the Motion, Docket No. 312 (the “Walsh Decl.”) at 24, ¶13.
25   19
            Id. at 24, ¶ 15. The Committee requested that the Debtor provide a list identifying all of the Debtor’s insiders
            and affiliates. See Weintraub Decl., Ex. B. The Debtor refused to provide such information. See Weintraub
26          Decl., Ex. E.
     20
            REGENT LP, https://www.regentlp.com/portfolio (last visited September 25, 2022).
     21
27          REGENT LP, https://www.regentlp.com/team (last visited September 25, 2022).
     22
            Walsh Decl. at 25, ¶22.
     23
28          Id. at 23-24, ¶8.

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1    stores leased by Escada America Management LLC (“EAM”), a non-debtor affiliate.24 Since the

2    Petition Date, the Debtor has rejected all of its real property leases and currently operates one (1)

3    location on an informal basis for EAM.25

4            16.     The Debtor also owns Escada Online LLC (“Escada Online”) which “handles the

5    online transactions or sales for Escada on behalf of Sourcing and Production.”26

6            17.     Escasda Online GmbH (“Online GmbH”) is a non-debtor affiliate of the Debtor that

7    the Debtor proposed to release under the Debtor’s Chapter 11 Plan of Reorganization, Dated May

8    12, 2022 (the “Plan”).27 The Committee does not know why the Debtor sought to release Online

9    GmbH (or even what Online GmbH does with respect to the Debtor), and the Committee is unaware

10   of any consideration Online GmbH agreed to provide to the Debtor in exchange its contemplated

11   release.28

12           18.      Since the Petition Date, the Debtor’s workforce has shrunk from fifty (50) full-time

13   employees to five (5) store-level employees and four (4) employees in the Debtor’s corporate

14   offices.29 It is unclear why the Debtor needs four (4) corporate employees to manage one (1) store

15   and five (5) employees when, as discussed below, Mega performs the Debtor’s back-office

16   functions.30

17           C.      The Debtor’s Management

18           19.     It is unclear who manages the Debtor. Kevin Walsh is the Debtor’s Director of
19   Finance and the person who executes documents on behalf of the Debtor in this case, including the
20

21

22
     24
             Docket No. 197 at 16, ¶16 (noting the rejection of the last remaining stores for which the Debtor was lessee,
23           leaving open only those stores leased by EAM).
     25
             Walsh Decl. at 24, ¶9. See Weintraub Decl. at ¶9, Ex. E (Debtor’s admission that it has no written agreement
24           with EAM).
     26
             341 Transcript at 12:18-24.
25   27
             Docket No. 160 at 22:23-27 and Exhibit 4 to Plan.
     28
             The Committee requested information regarding Online GmbH from the Debtor. Weintraub Decl. at Ex. C.
26           The Debtor refused to provide such information, claiming it is not relevant to this case because the Debtor has
             withdrawn the Plan. Id. at Ex. E.
     29
27           Walsh Decl. at 24, ¶9 and Docket No. 311 at 19-20, ¶7.
     30
             See infra. at ¶¶ 28-38. The Debtor has also paid other affiliates for shared services, but there are no written
28           agreements governing or describing any such services. See Weintraub Decl. at ¶9, Ex. E.

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1    Petition, Schedules, SOFA and each of the declarations supporting the Debtor’s various requests to

2    use cash collateral since the Petition Date (collectively, the “Cash Collateral Declarations”).31

3           20.     Many of the Cash Collateral Declarations are virtually identical to each other. This is

4    particularly evident with regards to the Cash Collateral Declaration supporting the Motion for which

5    it appears as though Mr. Walsh did little more than re-date and re-execute the same form of Cash

6    Collateral Declaration that was filed the last time the Debtor sought this Court’s authority to use

7    cash.32 With respect to the Motion, the Cash Collateral Declaration does not mention (let alone

8    attempt to justify) the new forms of adequate protection and other benefits Debtor has agreed to

9    grant to the Insider Secured Creditors (defined below).

10          21.     Perhaps that is because Mr. Walsh is not the person in charge of the Debtor. Upon

11   information and belief, the Debtor is managed by Mega, Michael Reinstein, or both. By way of

12   example:

13                          Mr. Walsh testified at the 341 Meeting that, although he was
                             uncertain to whom he reported technically, Mr. Reinstein is
14                           the Debtor’s principal and effectively the president of the
                             Debtor;33
15

16                          Mega provides back office services to the Debtor pursuant to
                             an Administrative Services Agreement between Mega and the
17                           Debtor under which Mega charged the Debtor over $1 million
                             per year;34
18
                            Anthony Depatie, a Mega in-house lawyer, appeared on behalf
19
                             of the Debtor at the 341 Meeting;35 and
20
                            Debtor’s counsel refers to Mr. Depatie and other Mega
21                           employees as its client in this proceeding.36

22

23

24

25   31
            Docket Nos. 16, 101, 144, 231 and 312.
     32
            Weintraub Decl. at ¶11, Ex. F (comparing declaration filed in support of the Debtor’s previous request for use
26          of cash collateral with the Walsh Decl. filed in support of the Motion).
     33
            341 Transcript at 44:3-45:4.
     34
27          Docket No. 258 at 19; Weintraub Decl. at ¶7.
     35
            341 Transcript at 45:24-46:11.
     36
28          See Weintraub Decl. at ¶12

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1           D.      The Insider Secured Creditors

2           22.     The Debtor has three (3) insider secured creditors (collectively, the “Insider Secured
3    Creditors”)37 whose claims and/or security interests are patently subject to challenge.
4                   1.      Eden Roc
5           23.     On or about June 26, 2020, Eden Roc “loaned” the Debtor $579,025.32 (the “Eden
6    Roc Loan”). The Eden Roc Loan was made to the Debtor “to basically keep the Debtor alive.”38
7    There is no question the Debtor was insolvent when Eden Roc made the Eden Roc Loan.39
8           24.     The Eden Roc Loan is evidenced by a Promissory Note dated July 31, 2020.40 Under
9    the Eden Roc Promissory Note, the Eden Roc Loan matured on July 31, 2020 (approximately 30
10   days after it was made).41 If the Debtor could not pay the Eden Roc Loan when due, the Eden Roc
11   Promissory Note simply requires the Debtor to make payment “as soon as possible.” 42 The Eden
12   Roc Loan bears no interest, even upon the Debtor’s default.43
13          25.     On June 26, 2020, Eden Roc and the Debtor entered into a Security Agreement with
14   respect to the Eden Roc Loan.44 In the Eden Rock Security Agreement, the Debtor granted Eden
15   Rock a security interest in substantially all of the Debtor’s assets. 45 Eden Roc filed a UCC-1
16   financing statement against the Debtor on July 2, 2020.46
17          26.     As of the Petition Date, the Debtor contends that $579,025.32 (i.e. the original loan
18   balance) was due on account of the Eden Roc Loan.47 Upon information and belief, Eden Roc took
19   no action before the Petition Date to collect the defaulted, overdue Eden Roc Loan. Eden Roc did
20   not file a proof of claim against the Debtor.
21
     37
            The Debtor does not dispute that each Insider Secured Creditor is an insider.
22   38
            341 Transcript at 19:8-20.
     39
            See Walsh Decl. at ¶¶ 16-31.
23   40
            Weintraub Decl., Ex. G (the “Eden Roc Promissory Note”). The same individual executed the Eden Roc
            Promissory Note for both the Debtor and Eden Roc.
24   41
            Id. at §1.2.
     42
            Id. at §1.3.
25   43
            Id. at preamble
     44
            Weintraub Decl., Ex. H (the “Eden Roc Security Agreement”). The same individual executed the Eden Roc
26          Security Agreement for both the Debtor and Eden Roc.
     45
            Eden Roc Security Agreement at §2(a).
     46
27          Declaration of John-Patrick M. Fritz, Esq. in Support of Emergency First Day Motions, Docket No. 15
            (the “Fritz First Day Decl.”) at 8.
     47
28          Walsh Decl. at 13 ¶30.

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1           27.     On these facts, it appears that the Promissory Note is an unenforceable, illusory

2    agreement and/or the Eden Roc Loan is subject to recharacterization as a disguised equity

3    contribution in the Debtor.48

4                   2.       Mega

5           28.     By its own words, Mega “is the operational infrastructure of Regent’s portfolio
6    companies[.]” 49 Upon information and belief, Mega, along with certain other affiliates of the
7    Debtor,50 has performed virtually all of the Debtor’s back-office functions since Regent acquired the
8    Debtor in 2019.51
9           29.     Less than (2) years before the Petition Date, Mega and the Debtor entered into (i) the
10   Administrative Services Agreement on or about April 28, 2020 (with a purported effective date of
11   October 31, 2019), 52 and (ii) a Security Agreement with respect to such services on or about
12   February 27, 2020.53
13          30.     In the Mega Services Security Agreement, the Debtor granted Mega a security
14   interest in substantially all of its assets.54 On February 11, 2021, Mega filed a UCC-1 financing
15   statement against the Debtor.55
16          31.     Upon information and belief, the Debtor received no consideration in exchange for
17   entering into the Administrative Services Agreement or the Mega Services Security Agreement. The
18   Debtor was insolvent when each of these agreements was entered.56 As a result, Mega’s lien against
19   the Debtor is avoidable.57
20

21

22   48
            See, e.g., In re Fitness Holdings Int’l, Inc., 714 F.3d 1141, 1146 (9th Cir. 2013) (bankruptcy courts can
            recharacterize debt to equity); In re L. Scott Apparel, Inc., 615 B.R. 881, 891 (C.D. Cal. 2020) (affirming
23          decision to recharacterize insider’s debt).
     49
            MCO, https://www.mco.com/about-us (last visited September 28, 2022).
24   50
            See e.g. 341 Transcript at 47:2-48:2
     51
            See Weintraub Decl., Ex. D (the “Administrative Services Agreement”) §1.2 (reflecting the provision of legal,
25          accounting, HR, tax, IT, strategic management and other services).
     52
            Id. at preamble.
26   53
            See Weintraub Decl., Ex. I (the “Mega Services Security Agreement”)
     54
            Mega Services Security Agreement at §2(a).
     55
27          Fritz First Day Declaration at 14.
     56
            See fn. 39, supra.
     57
28          See, e.g. 11 U.S.C. § 548(a)(1)(B).

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1           32.     The Debtor contends that it owed Mega $1,506,953 as of the Petition Date.58 Mega

2    did not file a proof of claim against the Debtor.
                                                                                                          59
3           33.     The Debtor paid Mega $3,112,474.41 before the Petition Date,                               including

4    $1,399,298.39 during the one (1) year preceding the Petition Date. 60

5           34.     Despite its request, the Committee has not received information from the Debtor or

6    Mega demonstrating (i) that Mega’s claims against the Debtor are valid and not subject to reduction

7    or offset, (ii) that Mega’s lien against the Debtor’s assets is not avoidable as a constructively

8    fraudulent transfer, or (iii) the amounts paid to Mega prepetition are not avoidable as preferences or

9    constructively fraudulent transfers.

10          35.     For example, the Committee requested documents from the Debtor reflecting the

11   methodology by which Mega charged the Debtor for its services, which Mega was supposed to

12   provide to the Debtor in writing annually under the Administrative Services Agreement.61                       The

13   Debtor does not have any such documents.62 The Committee also requested copies of all invoices

14   Mega issued to the Debtor under the Administrative Services Agreement.63 Although the Committee

15   received copies of invoices, it cannot determine the nature of the services rendered and, therefore,

16   cannot assess whether the asserted amount is valid or reasonable.

17          36.     The lack of detail supporting the Debtor’s prepetition payments to Mega and Mega’s

18   asserted claims against the Debtor is particularly troubling because it appears that, at least until
19   January 14, 2022, one or both of Mega’s principals used Mega as a vehicle to abuse Regent’s

20   portfolio companies for their personal gain.

21          37.     On January 21, 2022, Mega and others filed a lawsuit against David Steinhafel, a

22   former Regent principal, alleging that, for years, Mr. Steinhafel used Mega to strip Regent’s

23
     58
            Walsh Decl. at 13 ¶31; upon information and belief, this amount includes a $70,955.49 “loan” from Mega made
24          on July 1, 2020 that the Committee believes is subject to recharacterization for the same reasons as the Eden
            Roc Loan. See ¶¶23 - 27, supra.
25   59
            See Weintraub Decl. at ¶7.
     60
            The Debtor did not disclose these payments on the SOFA until July 21, 2022, six (6) months after the Petition
26          Date and over five (5) months after Mr. Walsh admitted under oath at the 341 Meeting that the Debtor had
            likely made payments to Mega that should have been disclosed. See 341 Transcript at 39:24 – 40:14..
     61
27          Administrative Services Agreement §2.2; Weintraub Decl., Ex. C.
     62
            See Weintraub Decl. at ¶9, Ex. E.
     63
28          See Id. at Ex. C.

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1    portfolio companies of value for his personal benefit.64 Mr Steinhafel disputes those allegations and

2    alleges that Mr. Reinstein (i) was aware of, and did not oppose, Mr. Steinhafel’s conduct, and (ii)

3    also uses Mega to strip Regent’s portfolio companies of value for personal gain.65 The litigation is

4    ongoing.

5           38.     Despite Mega’s admission that, at the very least, a key employee was inappropriately

6    reimbursing personal expenses by misappropriating funds from portfolio companies on a regular

7    ongoing basis, upon information and belief, the Debtor has not investigated whether it has claims or

8    causes of action against Mega or its current and former principals. In light of these allegations, the

9    Debtor’s prepetition transactions with Mega must be fully investigated.66

10                  3.       ESP

11          39.     ESP holds two prepetition claims against the Debtor:
12                      Consignment Claim: $675,361.39 claim for prepetition inventory ESP supplied to
                         the Debtor pursuant to a Consignment Agreement entered on February 11, 202167
13                       (less than one year before the Petition Date) and purportedly effective as of
14                       November 25, 2020;68 and

15                      Legacy Debt Claim: $19,044,356.07 claim for unsecured debt ESP acquired from
                         the Debtor’s foreign affiliates on undisclosed terms.69
16
            40.     On February 11, 2021 (less than one year before the Petition Date), the Debtor
17
     entered into a Security Agreement with ESP.70 In the ESP Security Agreement, the Debtor granted
18
19
     64
20          Id., Ex. J (Am. Compl., Regent, LP, et al. v. Steinhafel, et al., No. 22STCV02610 (Cal. Super. Ct. May 23,
            2022) at ¶¶ 1-6, 48-52.
     65
            Id., Ex. K (Cross-Compl., Regent, LP, et al. v. Steinhafel, et al., No. 22STCV02610 (Cal. Super. Ct. Apr. 1,
21          2022) at ¶¶ 11-33.
     66
            The Committee has endeavored to investigate all such transactions. While the Committee has received
22          documents from Mega and the Debtor it has many open questions and the story remains in flux. In fact, just
            yesterday, the Debtor produced a previously undisclosed document that appears to change the story about
23          Mega’s claims against the Debtor.
     67
            Weintraub Decl., Ex. L (the “Consignment Agreement”). The same individual executed the Consignment
24          Agreement for both the Debtor and ESP.
     68
            The Stipulation indicates that ESP believes its prepetition claim exceeds the Debtor’s scheduled amount of
25          $675,361.39. ESP did not file a proof of claim against the Debtor, and the bar date has passed. Therefore,
            ESP’s allowed prepetition claim is no more than $675,361.39. The Stipulation also references a $2,411,097.32
26          postpetition administrative expense claim against the Debtor. The Committee has no information regarding the
            basis, amount or validity of this alleged claim (to which the Debtor has agreed to stipulate).
     69
27          The Committee has requested information from ESP regarding the terms on which it acquired this claim. See
            Weintraub Decl., Ex. B. Except for one heavily redacted document from which no material information can be
28          gleaned, the Committee has received no information regarding this transaction. See Weintraub Decl. at ¶9.

                                                          11
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1    ESP a security interest in the Debtor’s inventory, related rights and proceeds thereof.71 On February

2    11, 2021, ESP filed a UCC-1 financing statement against the Debtor.72

3             41.     Upon information and belief, the Debtor received no consideration in exchange for

4    entering into the Consignment Agreement and the Security Agreement with ESP. The Debtor was

5    insolvent when it entered each of these agreements.73 As a result, ESP’s lien against the Debtor is

6    avoidable as an insider preference, fraudulent transfer, or both.74

7             42.     Since January 15, 2021, the Debtor has paid ESP $2,217,636,75 including $2,067,636

8    during the year preceding the Petition Date.76 The Debtor admits its prepetition payments to ESP

9    were made on account of inventory and the legacy debt ESP acquired from the Debtor’s foreign

10   affiliates.77 The Debtor cannot, however, state which portion of its prepetition payments to ESP

11   relate to one obligation or the other.78

12            E.      The Motion

13            43.     Since the Petition Date, the Debtor has operated pursuant to a series of interim cash
14   collateral orders (collectively, the “Interim Cash Collateral Orders”).79 None of the Interim Cash
15   Collateral Orders (i) stipulate to the amount, validity or perfection of any lien or claim held by an
16   Insider Secured Creditor, (ii) provide for adequate protection payments to any Insider Secured
17   Creditor, or (iii) limit the Debtor’s or the Committee’s right to investigate or pursue any challenge
18   against any Insider Secured Creditor. 80
19            44.     Pursuant to the Third Stipulation to Extend Deadlines and Scheduling Regarding:
20   (1) Debtor’s Motion for an Order Extending the Plan Exclusivity Period to File Chapter 11 Plan
21   and Obtain Acceptances Thereof & (2) Motion for Order Authorizing Use of Cash Collateral and
22   (...Continued)
     70
              Id., Ex. M (the “ESP Security Agreement”). The same individual executed the ESP Security Agreement for
23            both the Debtor and ESP.
     71
              ESP Security Agreement at §2(a).
24   72
              Fritz First Day Declaration at 12-13 (omitting reference to proceeds).
     73
              See fn. 39, supra.
25   74
              11 U.S.C. §§ 547(b), 548(a)(1)(B).
     75
              See Weintraub Decl. at ¶7.
26   76
              See Docket No 258 at 18. (listing payments to “Escada Sourcing & Production group”).
     77
              Id.
     78
27            Weintraub Decl., Ex. E.
     79
              Docket Nos. 56; 85; 131; 154; 190, and; 247.
     80
28            Docket Nos. 56, ¶¶ 1-9; 85, ¶¶ 1-4; 131, ¶¶ 1-6; 154, ¶¶ 1-6; 190, ¶¶ 1-4, and; 247, ¶¶ 1-7.

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1    Providing Adequate Protection Pursuant to Sections 361 and 363 of the Bankruptcy Code (the

2    “Exclusivity Stipulation”), the Debtor and the Committee agreed that the Debtor’s pending motion to

3    continue using cash collateral consistent with the Interim Cash Collateral Orders would be heard on

4    October 12, 2022.81 Pursuant to the Exclusivity Stipulation, unless the Debtor and the Committee

5    reach agreement on a consensual plan by October 12, 2022, the Debtor’s exclusive periods will

6    terminate automatically as to the Committee.82

7           45.       Without providing any notice or attempting to negotiate with the Committee, the

8    Debtor filed the Motion on September 21, 2022.83 The Motion seeks authority for the Debtor to use

9    cash collateral on dramatically different terms that benefit the insiders at the expense of the Debtor’s

10   estate and other stakeholders. Among other things, the Debtor now:

11                   Stipulates to the validity, amount, priority and perfection of the Insider
                      Secured Creditors’ liens and claims against the Debtor,84 despite (i) the
12                    clear challenges and unresolved questions discussed above, and (ii) the
                      absence of any evidence supporting the Debtor’s business judgment or
13
                      good faith in making such concessions to its insiders;
14
                     Agrees to pay $25,000 a month to each Insider Secured Creditor85 with no
15                    evidence demonstrating why such amount is required or reasonable under
                      the Bankruptcy Code or in the best interest of the estate;
16
                     Agrees to pay the Insider Secured Creditors’ legal fees in connection with
17
                      this chapter 11 case (including to defend any challenge to their
18                    claims/liens or cause of action to recover avoidable payments they
                      received prepetition);86
19
                     Agrees to hamstring the Committee’s ability to complete its investigation
20                    of the insiders by prescribing an inadequate investigation budget and
                      prohibiting the use of cash to initiate any challenge, claim or objection
21
                      against the Insider Secured Creditors;
22
                     Fails to provide any mechanism to (i) disgorge any rights or payments the
23                    Insider Secured Creditors receive under the Stipulation if any of their
                      claims or liens are successfully challenged, and (ii) preserve all rights,
24

25
     81
            Docket No. 289, ¶2.
26   82
            Id. at ¶7.
     83
            See Weintraub Decl. at ¶20, Ex. N.
27   84
            Stipulation at ¶2.
     85
            Id. at ¶9.
28   86
            Id. at ¶10.

                                                      13
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1                     claims and challenges against the Insider Secured Creditors if the Debtor’s
                      case is converted to chapter 7 trustee or a trustee is appointed; and
2
                     Agrees that its ability to use cash shall terminate if it Debtor loses “its
3                     exclusivity rights . . . for any reason[,]” including the termination of
4                     exclusivity as to the Committee under the Exclusivity Stipulation if the
                      Debtor and the Committee do not agree to the terms of a consensual plan
5                     by October 12.87

6           46.       The Debtor’s proposed use of cash is subject to the Budget. The Budget reflects that
7    the Debtor currently has $1.6 million in cash and is projected to have $882,000 in cash on January 7,
8    2023. The Debtor will have approximately $1.1 million in cash if it does not make the adequate
9    protection payments to the Insider Secured Creditors.88
10          47.       In addition to cash on hand, the Budget does not include $2.2 million in cash
11   proceeds of surety bonds the Debtor maintained for ESP’s benefit.89 When the bond proceeds are
12   added to the Debtor’s cash, the Debtor is projected to have approximately $3 million in cash/cash
13   equivalents on January 7, 2023.90
14          48.       The Budget reflects that the Debtor intends to pay, inter alia:
15                       $58,000 per month in employee wages and benefits against
                          $44,000 in projected monthly sales;
16
                         $15,000 per month in rent under a lease to which the Debtor is not
17                        a party and which the Debtor is not liable to pay; and
18                       $75,000 per month in adequate protection payments to the Insider Secured
                          Creditors and $50,000 to their counsel.
19
            49.       The Motion is devoid of evidence that Debtor negotiated the Stipulation with the
20
     insiders at arms’ length or that the insiders would refuse to consent to the Debtor’s use of cash on
21
     other, less onerous, terms.
22

23

24

25

26
     87
            Id. at ¶11.i.
27   88
            The Declaration of John. P. Madden. (the “Madden Decl.”), filed contemporaneously with this objection at ¶8.
     89
            Id. at ¶¶5, 9-10, Exs. B, D
28   90
            Id.

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1           F.      Committee Efforts to Obtain Information

2           50.     Since its formation, the Committee has worked to obtain basic information about the
3    Debtor’s business, assets, liabilities and relationships with insiders.91 The Committee’s requests for
4    information have been targeted to ascertain information required for the Committee to fulfill its
5    fiduciary duties and attempt to negotiate a fair, consensual plan for the Debtor.
6           51.     Unfortunately, the Debtor and its insiders are unable or unwilling to provide standard
7    information to the Committee, including key information about the insider claims the Debtor
8    proposes to bless and shield from scrutiny under the Stipulation.                      Among other things, the
9    Committee has not received information regarding:
10                      How Mega prices its services under the Administrative Services
                         Agreement, which information Mega was required to provide to the
11                       Debtor in writing and which the Debtor admits it does not possess;92
12
                        Invoices sufficiently describing the basis for the prepetition
13                       payments the Debtor made to Mega; 93

14                      An allocation of the prepetition payments the Debtor made to ESP
                         between inventory and legacy debt, which information the Debtor
15                       admits it does not possess; 94
16
                        Transactions between the Debtor and ESP and amounts due and
17                       owing under the Consignment Agreement, which information the
                         Debtor has not been able to assemble or produce during the 10
18                       weeks the Committee’s request for such information has been
                         outstanding; 95
19
                        Why the Debtor believes the Insider Secured Creditors’ claims and
20
                         liens are not subject to challenge or avoidance for the reasons
21                       discussed above (and others such as equitable subordination); and

22                      The identity of all of the Debtor’s insiders and affiliates, which
                         information the Debtor contends is beyond the scope of this chapter
23                       11 proceeding.96
24

25
     91
            Docket Nos. 237 at ¶7; 264; 267; 296, and; 298 (each reflecting the Committee’s efforts to obtain information).
26   92
            See fn 62, supra
     93
            Id.
     94
27          See fn 78, supra
     95
            Weintraub Decl. Exs. C, E.
     96
28          See fn 19, supra

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1    III.   OBJECTION

2           A.         Legal Standards
3           52.        A debtor-in-possession is a fiduciary for its estate and all creditors. See 11 U.S.C. §
4    1107(a) (debtor-in-possession steps into the shoes of the trustee). A debtor-in-possession’s fiduciary
5    duties “include a duty of care to protect the [estate’s] assets, a duty of loyalty and a duty of
6    impartiality.” In re Bowman, 181 B.R. 836, 843 (Bankr. D. Md. 1995). See also In re Morningstar
7    Marketplace, Ltd, 544 B.R. 297, 303 (Bankr. M.D. Pa. 2016) (debtor-in-possession’s fiduciary
8    duties “include the duty of care to safeguard estate assets, the duty of loyalty and the duty of
9    impartiality”).
10          53.        “The duty of loyalty requires the avoidance of self-dealing and conflicts of interest.”
11   Morningstar Marketplace, 544 B.R. at 303. See also In re Sun Casinos, LLC, 298 B.R. 821, 830
12   (Bankr. S.D. Fla. 2003) (debtor-in-possession’s duty of loyalty and good faith “forbid directors and
13   other business operators from using their position of trust and control over the rights of other parties
14   to further their own private interest, either by usurping opportunities, holding undisclosed conflicts,
15   or otherwise exploiting their position”); In re Bellevue Place Assocs., 171 B.R. 615, 624 (Bankr.
16   N.D. Ill. 1994) (debtor-in-possession has a fiduciary duty “not to engage in self dealing”).
17          54.        For this reason, a debtor’s transactions with insiders are subject to heightened
18   scrutiny. See In re Lafayette Hotel P’ship, 227 B.R. 445, 454 (S.D.N.Y. 1998) (insider loans subject
19   to heightened scrutiny); In re Los Angeles Dodgers LLC, 457 B.R. 308, 312 (Bankr. D. Del. 2011).
20   Insider transactions are not subject to the deferential business judgment standard; to be approved,
21   they must be entirely fair. See Pepper v. Litton, 308 U.S. 295, 306 (1939) (controlling shareholder’s
22   “dealings with the corporation are subject to rigorous scrutiny and where any of their contracts or
23   engagements with the corporation is challenged the burden is on the director or stockholder to not
24   only prove the good faith of the transaction but also to show its inherent fairness”); In re Latam
25   Airlines Group S.A., 620 B.R. 722, 769 (Bankr. S.D.N.Y. 2020 (applying entire fairness test to
26   insider transaction and stating, “[b]y definition, the business judgment rule is not applicable to
27   transactions among a debtor and an insider of the debtor”). “In applying heightened scrutiny, courts
28   are concerned with the integrity and entire fairness of the transaction at issue, typically examining

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1    whether the process and price of a proposed transaction not only appear fair but are fair and whether

2    fiduciary duties were properly taken into account.” In re Innkeepers USA Trust, 442 B.R. 227, 231

3    (Bankr. S.D.N.Y. 2010).

4           55.     Section 363 of the Bankruptcy Code allows a debtor-in-possession to use cash

5    collateral if (i) a secured creditor consents, or (ii) the court approves the debtor’s use of cash

6    collateral after notice and a hearing. See 11 U.S.C. § 363(c)(2). If a secured creditor objects to a

7    debtor’s proposed use of cash collateral, the debtor bears the burden of proving that the secured

8    creditor is adequately protected. See 11 U.S.C. § 363(p)(1). A secured creditor seeking adequate

9    protection has the burden of proof regarding the validity, priority and extent of its lien. See 11

10   U.S.C. § 363(p)(2).     Adequate protection can take many forms, including replacement liens,

11   superpriority claims and/or an equity cushion. See 11 U.S.C. § 361; In re Mellor, 734 F.2d 1396,

12   1401 (9th Cir. 1984); In re Helionetics, Inc., 70 B.R. 433, 440 (Bankr. C.D. Cal. 1987).

13          B.      The Debtor Has Not Met Its Burden to Prove the Stipulation is Entirely Fair

14          56.     The Motion provides no evidence that the Debtor negotiated the Stipulation with its
15   insiders impartially, at arms’ length or that the Stipulation is entirely fair to all of the Debtor’s
16   creditors. There is no evidence, for example, that before capitulating to its insiders’ demands, the
17   Debtor considered (i) filing a non-consensual motion to use cash collateral, (ii) filing a motion to
18   convert the case, or (iii) initiating any of the estate’s challenges and causes of action against the
19   Insider Secured Creditors, even as leverage. In fact, there is no evidence that anyone negotiated the
20   Stipulation on the Debtor’s behalf at all.97
21          57.     On the other hand, there is evidence that (i) the Debtor did not consult with the
22   Committee (the estate’s other fiduciary) before it entered the Stipulation and filed the Motion, and
23   (ii) Mega is making strategic decisions for the Debtor with respect to this case. Together, the
24   absence of any evidence of negotiation, the Debtor’s failure to consult with the Committee, and
25   Mega’s actual conflicts of interest undermine the Debtor’s unsupported claim that the Stipulation
26
     97
            Contemporaneously with this objection, the Committee is serving discovery on the Debtor, Mega, ESP and
27          Eden Roc to ascertain how and why the Debtor evaluated and agreed to the Stipulation. The Committee
            reserves the right to supplement this objection based on additional information it obtains through such
28          discovery.

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1    was entered in good faith and in the estate’s best interest. The Debtor has not met its burden to

2    prove that the Stipulation was entered into by a disinterested fiduciary and is fair. See Innkeepers

3    USA Trust, 442 B.R. at 231 (to be entirely fair, an insider transaction must result from a fair process

4    in which the estate is represented by an impartial fiduciary). The Motion should be denied.

5           C.      The Stipulation is Not in the Best Interest of Creditors

6           58.     The Motion is devoid of evidence to prove the Stipulation is in the best interest of all
7    creditors, because it is not. On May 1, 2022, the Debtor filed a disclosure statement with respect to
8    the Plan, including a liquidation analysis (the “May Liquidation Analysis”).98 The May Liquidation
9    Analysis projected that the Debtor’s general unsecured creditors would receive approximately
10   5.24% to 10.63% if the Debtor was liquidated under chapter 7 of the Bankruptcy Code at that time.
11   The Committee disputes the Debtor’s assumptions in the May Liquidation Analysis and believes it
12   understates the projected creditor recoveries.99
13          59.       For illustration purposes, however, the Committee has updated the May Liquidation
14   Analysis to reflect the facts agreed to by the Debtor in the Stipulation, including (i) $0.00 on account
15   of avoidance claims against the Insider Secured Creditors, (ii) $0.00 on account of the claim to
16   recharacterize the Eden Roc Loan, (iii) $0.00 on account of claims to equitably subordinate Mega’s
17   or ESP’s claims based on their (and their principal’s) inequitable conduct, (iv) $2.4 million in favor
18   of ESP on account of a previously undisclosed and undocumented administrative expense claim, (v)
19   a $99,000 administrative expense claim in favor of Mega on account of undocumented benefits for a
20   dwindling workforce and dying business, and (vi) $275,000 in cash payments to the Insider Secured
21   Creditors and their counsel.100
22          60.     When these concessions are taken into account, the bottom line is shocking. Under
23   the guise of adequately protecting patently avoidable liens the Debtor already should have sued to
24   avoid, the Debtor has stipulated the estate into administrative insolvency to the tune of
25

26
     98
            Docket No. 161, Ex 8; Madden Decl, Ex. C
27   99
            For example, the May Liquidation Analysis ignored all of the prepetition payments the Debtor made to Mega
            and, therefore, ascribed $0.00 to the estate’s causes of action to avoid and recover such payments from Mega.
28   100
            Madden Decl. at ¶11, Ex. E.

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1    $3,635,137.18, effectively wiping out the prospect of any recovery for non-insider general unsecured

2    creditors.101

3              61.     Needless to say, non-insider creditors will do far better if the Motion is denied, even

4    if that means a disinterested chapter 7 trustee is installed to liquidate the Debtor’s assets fairly. Non-

5    insider creditors cannot do any worse in a conversion than they will if the Stipulation is approved.102

6    The Stipulation is not in the best interest of the estate under any measure. The Motion should be

7    denied.

8              D.      Adequate Protection is Excessive

9              62.     If the Court decides to grant the Motion, the Debtor should not be authorized to make
10   adequate protection payments (including payment of counsel fees) to the Insider Secured Creditors.
11   Any interest the Insider Secured Creditors may have in the Debtor’s cash is more than adequately
12   protected by the terms of the Interim Orders: replacement liens, superpriority claims and an equity
13   cushion.
14             63.     The Motion seeks to adequately protect the Insider Secured Creditors with respect to
15   the following documented claims against the Debtor:
16                     Insider       Claim         Evidence103                                 Amount

17                     Eden Roc      Loan          Loan Documents; Schedules                    $579,025.32
                       Mega          Loan          Loan Documents; Walsh Decl.                    $70,955.49
18                     Mega          Services      Administrative Services Agreement,          $1,506,953.00
                                                   Security Agreement, UCC-1; Schedules
19                     ESP           Inventory     Consignment    Agreement;    Security         $675,361.39
                                                   Agreement, UCC-1; Schedules
20                                                                                 Total       $2,832,295.20

21
               64.     As of January 7, 2023, the date through which the Debtor seeks final authority to use
22
     cash, the Debtor is projected to have approximately $3 million in cash and cash equivalents, 104
23

24   101
               Madden Decl. at ¶12.
     102
               The Committee is subject to the Exclusivity Stipulation and is prepared to mediate with the Debtor by October
25             12 as required thereunder. In light of those negotiations, the Committee is not disclosing a range of potential
               value it believes creditors could achieve at this time.
26   103
               Except for copies of UCC-1 financing statements, neither the Debtor nor the Insider Secured Creditors filed any
               of the documents they contend establish the Insider Secured Creditors’ claims and liens against the Debtor. In
27             addition to the other reasons set forth in this objection, the Motion is deficient for this reason alone. See 11
               U.S.C. § 363(p) (burden of proof is on the debtor with respect to adequate protection and on a secured creditor
28             to establish the validity of its liens and claims against the debtor).

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1    which is more than the $2.8 million of documented claims that are subject to adequate protection

2    under the Stipulation. In addition to their replacement liens and superpriority claims, this equity

3    cushion is more than sufficient to protect the Insider Secured Creditors’ suspect interests in the

4    Debtor’s cash. The Debtor’s request to make adequate protection payments to the Insider Secured

5    Creditors or their counsel should be denied.

6             E.      Other Objectionable Provisions

7             65.     Other provisions of the Stipulation are equally offensive and should be denied or
8    modified if the Motion is granted:
9                        Limitations on Chapter 7 Trustee: The Stipulation should not bind a chapter 7
                          trustee, and it should include a reasonable carve-out for a trustee upon conversion.
10

11                       Limitations on Investigation/Challenge: The Stipulation should not limit the
                          Committee’s budget to investigate the Insider Secured Creditors or pursue any
12                        claim or challenge against them, and certainly not to the unreasonably low
                          amounts set forth in the Stipulation. The Committee must be able to fulfill its
13                        statutory mandate, the fees and expenses for which should be subject to allowance
                          and payment pursuant to applicable provisions of the Bankruptcy Code and the
14                        Federal and Local Rules of Bankruptcy Procedure.
15
                         Disgorgement/Reversal: Any adequate protection afforded to the Insider Secured
16                        Creditors must be subject to reversal/disgorgement upon a successful challenge to
                          the Insider Secured Creditors’ liens and claims against the Debtor, and all rights
17                        of setoff preserved.
18                       Reporting: The Committee should receive contemporaneous copies of all
19                        reporting delivered to the Insider Secured Creditors under the Stipulation.

20                       Termination Events: The Stipulation should not terminate if the Debtor’s
                          exclusivity rights are terminated pursuant to the Exclusivity Stipulation.
21

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27
     (...Continued)
28   104
              Madden Decl. at ¶10, Ex. D.

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1           WHEREFORE, the Committee respectfully requests that the Court (i) deny the Motion, and
2    (ii) grant such other and further relief as the Court deems just and proper.

3    Dated: September 28, 2022                 KELLEY DRYE & WARREN LLP
4                                              By:     /s/ Eric R. Wilson
                                               Eric R. Wilson ( CA Bar No. 192220)
5                                              Robert L. LeHane (admitted pro hac vice)
                                               Kristin S. Elliott (admitted pro hac vice)
6
                                               3 World Trade Center
7                                              175 Greenwich Street
                                               New York, New York 10007
8                                              Tel: (212) 808-7800
                                               Fax: (212) 808-7897
9                                              Email: ewilson@kelleydrye.com
                                                        lehane@kelleydrye.com
10                                                      kelliott@kelleydrye.com

11                                             Counsel to the Official Committee of Unsecured
                                               Creditors of Escada America, LLC
12

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Kelley Drye & Warren LLP, 3 World Trade Center, 175 Greenwich Street, New York, NY 10007.

A true and correct copy of the foregoing document entitled (specify): OFFICIAL COMMITTEE OF UNSECURED
CREDITORS’ OBJECTION TO DEBTOR’S MOTION FOR ORDER: (I) AUTHORIZING USE OF CASH COLLATERAL
PURSUANT TO SECTION 363 OF THE BANKRUPTCY CODE; AND (II) APPROVING ADEQUATE PROTECTION;
DECLARATIONS OF PHILIP A. WEINTRAUB, ESQ. AND JOHN P. MADDENS will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
9/28/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                       X    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 9/28/2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Holthouse Carlin & Van Trigt LLP
1801 W.Olympic Blvd.
Pasadena, CA 91199-1404
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 9/28/2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA OVERNIGHT
The Honorable Sheri Bluebond
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and
Courthouse 255 E. Temple Street, Suite 1534
Courtroom 1539
Los Angeles, CA 90012



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 9/28/2022                       Eric R. Wilson                                                 /s/ Eric R. Wilson
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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